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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  MORLEY DELRAY, INC,
  a Florida for-profit corporation,

        Defendant.
  _____________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant

  MORLEY DELRAY, INC, a Florida for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This also is an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful discrimination in violation of Section 504 of the Rehabilitation

  Act of 1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.




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         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”). Plaintiff also is expressly authorized to bring this case as an otherwise

  qualified individual with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  Because of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h). Plaintiff also is an otherwise qualified individual with a disability who has

  been denied the benefits of a program or activity receiving federal financial assistance and is thus

  covered by the Rehab Act, 29 U.S.C. §794(a) and (b). Plaintiff further is an advocate of the rights

  of similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or the

  recipients of federal financial assistance and/or their respective and associated websites are in




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  compliance with the ADA, the Rehab Act, and any other applicable disability laws, regulations,

  and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent. At

  a rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory—rather than visual—cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls retail stores selling

  women’s apparel, including one of the stores that Plaintiff had patronized and/or intended to

  patronize in the future located at 415 E. Atlantic Avenue, Delray Beach, Florida. Defendant also

  owns, leases, leases to, and/or operates a business in South Florida that is the recipient of federal

  financial assistance for the company as a whole within the meaning of the Rehab Act, 29

  U.S.C§794(b)(3)(A)(i). See Exhibit “A” attached hereto.



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         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet.        Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls retail stores selling women’s apparel under the name “Morley” The

  Morley stores are open to the public. As the owner, operator, and/or controller of these retail stores,

  Defendant is defined as a place of “public accommodation” within meaning of Title III because

  Defendant is a private entity which owns and/or operates “[A] bakery, grocery store, clothing store,

  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA and its implementing

  regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.shopmorley.com (the “Website”). One of the functions of the Website is to provide the

  public information on the locations of Defendant’s stores. Defendant also sells to the public its

  merchandise through the Website, which acts as a critical point of sale for Defendant’s

  merchandise that is also available for purchase in and from Defendant’s physical stores.




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         13.     The Website also services Defendant’s physical stores by providing information on

  its available merchandise, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to locate Defendant’s physical

  stores, purchase merchandise also available for purchase in and from the physical stores, purchase

  gift cards, and sign up for an electronic emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical stores, the Website is an extension of,

  and gateway to, the same goods, services, privileges, and advantages as are available in and from

  Defendant’s physical stores, which are places of public accommodation under the ADA. As an

  extension of and necessary service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a point of sale for Defendant’s stores, it enables users of the

  Website to make online purchases of Defendant’s merchandise that is also available for purchase

  in and from its physical stores.

         15.     Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale in Defendant’s physical stores, thus having the Website act as

  a point of sale for Defendant’s merchandise sold in and from the physical stores, purchase gift

  cards, pickup from the physical stores merchandise purchased online, and sign up for an electronic

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use online and in

  the physical stores, the Website is an extension of, and gateway to the physical stores, which are

  places of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the



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  Website is a necessary service, privilege, and advantage of Defendant’s brick and mortar stores

  that must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages afforded to the non-visually disabled

  public both online and in the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet

  and is a point of sale for merchandise sold at, in, and through Defendant’s physical stores, purchase

  gift cards, pickup from the physical stores merchandise purchased online, and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  online and in the physical stores, the Website is a necessary services, privilege, and advantage, of

  Defendant’s brick and mortar stores that must comply with all requirements of the ADA, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  full and equal access to and enjoyment of the goods, services, privileges, and advantages afforded

  the non-visually disabled public both online and in the physical stores.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores and to check store hours and merchandise pricing, purchase

  merchandise, purchase gift cards, arrange in-store and curbside pickups of merchandise purchased

  online, and sign up for an electronic emailer to receive exclusive offers, benefits, invitations, and

  discounts for use at the Website or in Defendant’s physical stores. In the alternative, Plaintiff

  intends to monitor the Website in the near future, as a tester, to ascertain whether it has been

  updated to interact properly with screen reader software.



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         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, and sign up for an electronic emailer to receive exclusive online offers, benefits, invitations,

  and discounts for use both online and in the physical stores from his home are important and

  necessary accommodations for Plaintiff because traveling outside of his home as a physically and

  visually disabled individual is often difficult, hazardous, frightening, frustrating, and confusing

  experience. Defendant has not provided its business information in any other digital format that

  is accessible for use by blind and visually disabled individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits, and to compare merchandise, services, prices, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare product features, services, discounts,

  promotions, and prices.

         20.     During the month June 2021, Plaintiff attempted on a number of occasions to utilize

  the Website to browse through the merchandise, services, and online offers to plan his store visits,

  to educate himself as to the merchandise, services, sales, discounts, and promotions being offered,

  and to learn about the brick and mortar stores, check store hours, and check merchandise pricing

  with the intention of making a purchase through the Website or at Defendant’s stores. Plaintiff

  also attempted to access and utilize the Website in his capacity as a tester to determine whether it

  was accessible to blind and visually disabled persons, such as himself, who use screen reader

  software to access and navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals




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  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Homepage button is mislabeled;

                 b. Product price is inaccessible;

                 c. Different images of the same product have the same description;

                 d. The “-/+” sign to increase and decrease the quantity of an item is mislabeled;
                    and

                 e. Once inside the shopping cart, the product price, the subtotal, and total of the
                    order are inaccessible.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, services, and promotions, as provided on the Website

  and at the physical store to the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

  Website as a necessary extension, service, privilege, and advantage of the physical stores, but he



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  is presently unable to fully do so, as he is unable to effectively communicate with Defendant’s

  physical stores due to his severe visual disability and the Website’s access barriers. Alternatively,

  as a tester using scree reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendants through the Website due to his severe blindness and visual

  disability and the Website’s access barriers. Thus, Plaintiff, and others who are blind and visually

  disabled, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

         26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail stores for its goods, services, operation, and use, and thus is a necessary

  extension, service, privilege, advantage, and accommodation of Defendant’s brick and mortar

  stores for the purchase of Defendant’s merchandise, the Website must comply with all

  requirements of the ADA, must not discriminate against individuals with disabilities, and must not

  deny those individuals the same full and equal access to and enjoyment of the goods, services,

  privileges, and advantages as afforded the non-visually disabled public both online and in the

  physical stores, which are places of public accommodation subject to the requirements of the ADA.

  In addition, because Defendant is a recipient of federal funds to the company as a whole, Defendant

  is also subject to the requirements of the Rehab Act and must not discriminate against qualified or

  otherwise qualified individuals with disabilities in any and all of its “programs and activities”,

  including the Website.

         27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

         28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.



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          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to blind and visually disabled individuals who want

  the safety and privacy of purchasing Defendant’s merchandise and scheduling Defendant’s

  services offered on the Website from their homes.



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          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, accommodations, programs, and activities

  provided by and through the Website in contravention of the ADA and the Rehab Act.

          39.     Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act, public

  accommodations and companies that receive federal financial assistance as a whole must not

  discriminate against disabled persons and are required to make all the facilities, programs, or

  activities they operate, including their websites, fully and readily accessible to persons with

  disabilities.

          40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

  all programs, projects and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. §701(c)(3).

          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals who are visually disabled from the

  means to access and comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.




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         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

         48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates physical stores and the connected Website..

         50.      Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s

  physical stores, purchase merchandise that is also available for purchase in and from the physical

  stores, purchase gift cards, pickup form the physical stores merchandise purchased online,, and

  sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use both online and in the physical stores. The Website thus is an extension of,

  gateway to, and necessary service, privilege, and advantage of Defendant’s physical stores, one or



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  more of which Plaintiff intended to patronize. Further, the Website also serves to augment

  Defendant’s physical stores by providing the public information on the locations of the stores and

  by educating the public as to Defendant’s available products sold and services offered through the

  Website and in its physical stores. The Website thus is necessary for Plaintiff to fully and equally

  enjoy and have access to all of the goods, services, privileges, and advantages being offered by

  Defendant both online and in its physical stores.

         51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”



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         54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         55.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical stores in violation of

  42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

         56.     The Website was subsequently visited by Plaintiff’s expert in April 2021, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Defendant thus has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  for, blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the

  public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to

  visually disabled individuals, nor has it posted on the Website a conspicuous and effective

  “accessibility” notice, statement, or policy to provide blind and visually disabled person such as

  Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

  failed to make reasonable modifications in its policies, practices, or procedures when such

  modifications are necessary to afford goods, services, facilities, privileges, advantages, or

  accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

  functional, viable and effective “accessibility” notice, policy, or statement and the numerous

  access barriers as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

  hereto as Composite Exhibit “B” and the contents of which are incorporated herein by reference,

  continue to render the Website not fully accessible to users who are blind and visually disabled,

  including Plaintiff.



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          57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          58.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          59.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

          60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website, and hence its connected physical stores, by individuals such as Plaintiff with

  visual disabilities who require the assistance of interface with screen reader software to

  comprehend and access internet websites. These violations within the Website are ongoing.

          61.     The ADA require that public accommodations and places of public accommodation

  ensure that communication is effective.

          62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.




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         63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         65.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         66.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is an extension, service, privilege, and advantage of, and critical and

  necessary point of sale for, Defendant’s brick and mortar stores, Plaintiff has suffered an injury in

  fact by being denied communication with and full access to and enjoyment of the goods, services,

  privileges, and advantages of Defendant’s physical stores.

         67.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:




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         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with visual disabilities have full and equal access to and

  enjoyment of the goods, services, facilities, privileges, advantages, and accommodations offered

  in Defendant’s physical stores through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise online and from the physical stores, and during that time period prior to

  the Website’s being designed to permit individuals with visual disabilities to effectively

  communicate, to provide an alternative method for individuals with visual disabilities to

  effectively communicate for such goods and services made available to the general public through

  the Website and the physical stores.

         69.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has retained the undersigned counsel for the filing and

  prosecution of this action and has agreed to pay them a reasonable fee for their services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:



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        A. A declaration that Defendant’s Website is in violation of the ADA;

        B. An Order requiring Defendant, by a date certain, to update the Website, and continue

           to monitor and update the Website on an ongoing basis, to remove barriers in order that

           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;




  1
                    or similar.
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            G. An Order requiring, by a date certain, that any third-party vendors who participate on

                  Defendant’s Website to be fully accessible to the visually disabled;

            H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

                  provide mandatory web accessibility training to all employees who write or develop

                  programs or code for, or who publish final content to, the Website on how to conform

                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

  herein.



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          71.     As more specifically set forth above, Defendant has violated the Rehab Act by

  failing to interface the Website with software utilized by visually impaired individuals. Thus,

  Defendant has violated the Rehab Act either directly or through contractual, licensing, or other

  arrangements with respect to Plaintiff and other similarly situated individuals solely by reason of

  their disability, based on the following:

          a)      By excluding Plaintiff from participation in and denying him the benefits of or

  subjecting him to discrimination under any program or activity receiving federal financial

  assistance, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects, and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. Section 701 (c)(3);

          c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

  the Rehab Act which prohibits discrimination against qualified or otherwise qualified individuals

  in all of the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

  discriminating against disabled persons and requires that facilities, programs, or activities operated

  by a federally funded entity be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship which receives

  federal financial assistance as a whole. Defendant's Website and its content is a "program or

  activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);




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         f)      Plaintiff was denied access to Defendant's Website solely by reason of his

  disability. This denial of access to Defendant's "program or activity" subjected Plaintiff to

  discrimination, excluded Plaintiff from participation in the program or activity, and denied

  Plaintiff the benefits of the Website, a service available to those persons who are not blind. As of

  this filing, the Website remains inaccessible to qualified or otherwise qualified persons;

         g)      The international website standards organization, WC3, has published widely-

  accepted guidelines ("WCAG 2.0” and “WCAG 2.1 AA") for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal Courts and the United States Access Board; and,

         h)      Defendant has engaged in unlawful practices in violation of the Rehab Act since it

  launched the Website. These practices include, but are not limited to, denying Plaintiff, an

  individual with a disability who, with or without reasonable modifications to the rules, policies, or

  practices, the removal of communication barriers, or the provision of auxiliary aids and services,

  meets the essential eligibility requirements for the receipt of services to participate in programs or

  activities provided by Defendant.

         72.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

  of the inaccessible features of its Website and has failed to remediate the Website to make it

  equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

  protected right was substantially likely, yet and it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief, a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate




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  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

         73.     Plaintiff would like to be a customer at Defendant's Delray Beach brick and mortar

  store but before he goes to Defendant’s store, he would like to determine what is available for his

  purchasing, what promotions are being offered, what services are being offered, and what new

  items are currently available. In that regard, Plaintiff continues to attempt to utilize the Website

  and/or plans to continue to attempt to utilize the Website on a regular basis to make selections for

  purchasing online or in the store.

         74.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

         75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant's Website. By continuing to operate

  the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

  and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of -Defendant's

  programs and activities available to the general public. By encountering the discriminatory

  conditions at the Website, and knowing that it would be a futile gesture to attempt to utilize the

  Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same store or Website readily available to

  the general public and is deterred and discouraged from doing so. By maintaining a website with

  access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

  participation in and benefits of its programs and activities as the non-visually disabled public.




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          76.    Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

          77.    Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

  discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the

  Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

  compliance with the Rehab Act so that he and others similarly situated will have full and equal

  enjoyment of the Website without fear of discrimination.

          78.    The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury, and damage without the immediate relief provided by the Rehab Act as

  requested herein.

          79.    Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

          80.    Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

  794a.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

          A.     A declaration that determines that Defendant's Website at the commencement of

  the subject lawsuit is in violation of the Rehabilitation Act;




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          B.      A declaration that Defendant's Website continues to be in violation of the

  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

  monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

  with visual disabilities;

          D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

  to, and useable by, individuals with visual disabilities to the full extent required by the

  Rehabilitation Act;

          E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

  procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

  undertake and complete corrective and remedial procedures;

          F.      Issuance of an Order directing Defendant to continually update and maintain its

  Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

          G.      An award to Plaintiff of his compensatory damages for Defendant’s willful and

  deliberately indifferent violations of the Rehab Act;

          H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

  U.S.C. §794a; and

          I.      Award such other relief as the Court deems just and proper, and/or is allowable

  under the Rehabilitation Act.




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        DATED: November 30, 2021

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